







		NO. 12-09-00114-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



RANDALL RAYMOND CROSBY,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 3 OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS





MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of jurisdiction.  Appellant was convicted of driving
while intoxicated, and sentence was imposed on March 3, 2009.  Thereafter, Appellant timely filed
a notice of appeal.

	To be sufficient to invoke the appellate court's full jurisdiction, the notice of appeal filed by
an appellant in a criminal case must bear the trial court's certification of the appellant's right to
appeal under Texas Rule of Appellate Procedure 25.2(a)(2).  Tex. R. App. P. 25.2(d).  The
certification should be part of the record when notice is filed, but may be added by timely
amendment or supplementation.  Id.  Appellant's notice of appeal does not include the required
certification.

	On April 24, 2009, this court notified Appellant, pursuant to Texas Rules of Appellate
Procedure 25.2 and 37.2, that the notice of appeal does not include the trial court certification.  The
notice also informed Appellant that the appeal would be dismissed unless, on or before May 11,
2009, the clerk's record was amended to include the required certification.

	The deadline for responding to this court's notice has expired, and the clerk's record has not
been amended to show Appellant's right to appeal.  Therefore, the appeal is dismissed for want of
jurisdiction.

Opinion delivered May 29, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(DO NOT PUBLISH)


